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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

                         MINUTES OF PROCEEDINGS


Camden Office                              Date of proceeding: May 21, 2009


JUDGE JOEL SCHNEIDER


COURT REPORTER: Disc #97


                                           DOCKET NO. 06-cv-4581(JEI)


TITLE OF CASE:
OMGBEHIN
      v.
CINO

APPEARANCES:
Dennis Friedman, Esq. for Plaintiff
Karen Shelton, Esq. for Defendant

NATURE OF PROCEEDINGS:
Status Conference held on the record.



                                  DEPUTY CLERK:      s/ Sarah Kilborn




CC: CHAMBERS

Time Commenced: 11:15 a.m.
Time Adjourned: 12:15 p.m.
Total Time in Court: 1 hour mins.
